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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


CHRIS ALLEN BROWNFIELD,                     )
                                            )
                         Plaintiff,         )                        CIVIL ACTION
                                            )
v.                                          )                        No. 21-cv-01157-KHV
                                            )
KANSAS DEPARTMENT OF                        )
CORRECTIONS, et al.,                        )
                                            )
                         Defendants.        )
____________________________________________)

                                               ORDER

        This matter comes before the Court on the Motion To Dismiss, Or In The Alternative, For

Summary Judgment Based On Exhaustion (Doc. #19) which Kansas Correctional Officers Jeff

Goldring, Brett Peters, John Goodson, Edward Garnett and Angela Robinson filed on August 20,

2021.1 For reasons stated below, said motion is overruled.

        As to plaintiff’s federal claims under Section 1983 (Counts III and IV), the parties agree

that the PLRA does not require plaintiff to plead exhaustion. Accordingly, failure to affirmatively

plead exhaustion does not constitute grounds for dismissal under Rule 12(b)(6), Fed. R. Civ. P.

Defendants’ alternate motion for summary judgment on plaintiff’s federal claims is premature, and

is overruled for substantially the reasons stated in Plaintiff Chris Allen Brownfield’s Response To

KDOC Defendants’ Motion To Dismiss Or In The Alternative, Motion For Summary Judgment

(Doc. #39) filed October 1, 2021. Defendants have not conclusively shown that plaintiff failed to


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        To expedite a ruling on this motion, the Court is communicating the reasons for its decision
without attempting to draft a legal treatise or cite relevant case law. The law in this area is clear and
the Court has taken into account the authorities which are cited in the parties’ briefs, along with other
authorities. If necessary for future proceedings, the Court may supplement this order with additional
findings of fact or legal citations.
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exhaust constitutional exhaustion procedures that were reasonably available to him. Moreover,

plaintiff’s failure to oppose defendants’ Motion To Stay Discovery And Related Rule 26 Activities

(Doc. #21) filed August 20, 2021 does not estop him from further developing the record in that

regard.

          As to Count I, plaintiff’s state law negligence claim, the Court declines to impose a

heightened pleading requirement and finds, for substantially the reasons that plaintiff has cited in

his opposing brief, that Count I of the First Amended Complaint (Doc. #3) filed June 21, 2021 is

not subject to dismissal for failure to attach documents which establish proof of exhaustion. As to

summary judgment on Count I, defendants’ motion is premature and unpersuasive with regard to

the reasonableness, constitutionality and availability of the exhaustion procedures on which

defendants rely.

          IT IS THEREFORE ORDERED that defendants’ Motion To Dismiss, Or In The

Alternative, For Summary Judgment Based On Exhaustion (Doc. #19) filed August 20, 2021 is

therefore OVERRULED.

          IT IS FURTHER ORDERED that as to all defendants, the Order (Doc. #30) filed

September 7, 2021 which stayed discovery and other pretrial proceedings pending a ruling on this

motion and the Motion To Dismiss (Doc. #11) filed August 5, 2021, is hereby VACATED.

Counsel shall immediately proceed with discovery, so as to proceed to trial commencing

November 7, 2022.

          IT IS HEREBY FURTHER ORDERED that the Notice Of Joinder (Doc. #25) which

defendants Corizon, LLC, Chasatie Wisdom and Chantel Abel filed on August 23, 2021, is

OVERRULED for the reasons stated above. Because the underlying motion is premature and




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unpersuasive on the merits, the Court does not decide whether third-party contractors are entitled

to invoke failure to exhaust as a defense.

       IT IS HEREBY FURTHER ORDERED that the Notice Of Joinder (Doc. #54) which

defendants Nancy Brayshaw, Beverly Jackson and Michelle Layton filed on October 22, 2021, is

OVERRULED for the reasons stated above. Because the underlying motion is premature and

unpersuasive on the merits, the Court does not decide whether third-party contractors are entitled

to invoke failure to exhaust as a defense.

       IT IS HEREBY FURTHER ORDERED that the Notice Of Joinder (Doc. #57) which

defendant Michelle Layton filed on October 29, 2021, is OVERRULED for the reasons stated

above. Because the underlying motion is premature and unpersuasive on the merits, the Court

does not decide whether third-party contractors are entitled to invoke failure to exhaust as a

defense.

       IT IS HEREBY FURTHER ORDERED that this case is set for trial beginning

November 7, 2022.

       Dated this 30th day of November, 2021 at Kansas City, Kansas.


                                                    s/ Kathryn H. Vratil
                                                    KATHRYN H. VRATIL
                                                    United States District Judge




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